                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                      Case No.

                                              )
                                              )
Plaintiff(s),                                 )
                                              )
vs                                            )
                                              )
                                              )
Defendant(s).                                )

  DISCLOSURE OF CORPORATE AFFILIATIONS AND OTHER ENTITIES WITH A
              DIRECT FINANCIAL INTEREST IN LITIGATION

Pursuant to Fed.R.Civ.P. 7.1 and Local Civil Rule 7.3, or Fed.R.Crim.P. 12.4 and Local Criminal
Rule 12.3,

_______________________ who is ______________________,
(name of party)                 (plaintiff/defendant/other:_______________)

makes the following disclosure:

1. Is party a publicly held corporation or other publicly held entity?

        YES                           NO

2. Does party have any parent corporations?

        YES                           NO


If yes, identify all parent corporation, including grandparent and great-grandparent corporations:


3. Is 10% or more of the stock of a party owned by a publicly held corporation or other
publicly held entity?

        YES                           NO



If yes, identify all such owners:




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4. Is there any other publicly held corporation or other publicly held entity that has a direct
financial interest in the outcome of the litigation (Local Civil Rule 7.3 or Local Criminal Rule 12.3)?

        YES                             NO

If yes, identify entity and nature of interest:


5. Is party a trade association?

        YES                             NO

If yes, identify all members of the association, their parent corporations, and any publicly held
companies that own 10% or more of a member’s stock:


6. If case arises out of a bankruptcy proceeding, identify any trustee and the members of any
creditors’s committee:



                                                  Signature: _____________________________

                                                  Date:   _____________________________


                                                                                   Finalize Form    Reset Form




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